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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              ROANOKE DIVISION

  MARY E. SANDERS                                        )
                                                         )
     Plaintiff,                                          )
                                                         )
                         v.                              )
                                                         )                         7:22cv00002
                                                               Civil Action No.: ________________
  KROGER LIMITED PARTNERSHIP I,                          )
  d/b/a Kroger Store #320                                )
                                                         )
     Defendant.                                          )

                                         COMPLAINT

         COMES NOW, Plaintiff Mary E. Sanders (the “Plaintiff”), by counsel, and states

  as follows for her Complaint against Kroger Limited Partnership I d/b/a Kroger Store

  #320 (“Kroger”) states as follows:

                               Parties, Jurisdiction, and Venue

         1.       Plaintiff Mary E. Sanders is 88 years old. She is an individual and, for all

  times relevant to this action, a resident and domiciliary of the Commonwealth of Virginia.

  Currently, the Plaintiff is a resident of Salem, Virginia.

         2.       Defendant Kroger is a foreign limited partnership with a principal place of

  business in Ohio. Kroger does significant business in Salem, Virginia.

         3.       The Defendant owns, operates, manages and/or controls the premises, and

  facilities which constitute the Kroger Store #320 located at 1925 Electric Road, Salem,

  Virginia 24153. Kroger Store #320 is a place of business open to the general public.

         4.       This Court has original jurisdiction over this action pursuant to 28 U.S.C. §

  1332 in that there is complete diversity of citizenship between the parties and the amount

  in controversy herein is in excess of the jurisdictional requirement of 28 U.S.C. § 1332.

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         5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) in that a

  substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in

  Salem, Virginia which is within the Western District of Virginia, and at all relevant times

  Defendant transacted business in Virginia, contracted to supply goods or services in

  Virginia.

                                       Factual Background

         6.      On May 3, 2021, the Plaintiff was an invitee on the premises of the Kroger

  Store #320 where she entered the grocery store to shop for groceries and other items.

         7.      The Defendant purchased various groceries and was exiting the store with

  items in hand. At the same time and place, a Kroger employee was pushing a large cart

  behind the Defendant. The cart was full of groceries for other customers who had

  purchased items online or elsewhere.

         8.      At the time and place aforesaid, the large cart in the custody and control of

  the Kroger employee struck the Plaintiff, knocked her down, and otherwise made violent

  contact with the Plaintiff’s body.

         9.      At the time and place aforesaid, the yet unidentified Kroger Employee was

  employed by Kroger and was acting within the scope and course of employment and

  business benefit for Kroger. Kroger paid the employee’s wages and otherwise directed the

  actions of the employee while on Kroger’s premises.

         10.     Kroger is vicariously liable for the negligent conduct of its employee.

                                    COUNT I
                        NEGLIGENCE/RESPONDEAT SUPERIOR

         11.     Plaintiff repeats and realleges each and every allegation set forth in

  Paragraphs 1 through 10 of this Complaint as if fully set forth herein.




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          12.     At the time and place aforesaid, Kroger and its employees had an actual

  and vicarious duty to use reasonable care in the operation of their premises, to use

  reasonable care in the use of shopping/storage carts on the premises, and to otherwise

  provide for the safety of its invitees on the premises.

          13.     Notwithstanding the aforesaid duties, Kroger’s paid employee maneuvered

  the shopping/storage cart in a negligent manner, as shown by the fact that the employee

  crashed the cart into the Plaintiff causing her to suffer injuries. In doing so, the Kroger

  employee failed to maintain a proper lookout, failed to maintain proper distance from the

  Plaintiff, failed to maintain control of the cart, and failed in other respects to use

  reasonable care in the operation of the cart. Individually and collectively, these and other

  acts, were a breach of Kroger’s duties to the Plaintiff.

          14.     As a direct and proximate result of the negligence of Kroger’s employee,

  the Plaintiff was caused to suffer serious and likely permanent injuries, has suffered and

  will in the future continue to suffer inconvenience and pain of body and mind; has been

  and will in the future be prevented from transacting business and household duties; has

  incurred and will continue to incur medical and related expenses in an effort to be cured of

  said injuries; and will continue to incur other damages.

          WHEREFORE, the Plaintiff respectfully prays for judgment against the Defendant

  in the sum of THREE HUNDRED THOUSAND DOLLARS ($300,000.00), interest from

  May 3, 2021 (pre-and-post judgment interest); and that the Plaintiff have such other and

  further relief as the Court deems necessary and appropriate.

          A TRIAL BY JURY IS DEMANDED.




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                                     Respectfully submitted,

                                     MARY E. SANDERS


                                     By _/s/ Aaron Balla Houchens___________
                                                   Of Counsel

  Aaron B. Houchens (VSB #80489)
  AARON B. HOUCHENS, P.C.
  111 E. Main Street
  P.O. Box 1250
  Salem, Virginia 24153
  (540) 389-4498 (Tel.)
  (540) 339-3903 (Fax)
  aaron@houchenslaw.com

        Counsel for Plaintiff




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